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Form hn006kms (Rev. 10/18)
                                             UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF MISSISSIPPI


IN RE:
          Bryan Scott Kennedy                                                             CASE NO. 19−01065−KMS
                 DEBTOR.                                                                                CHAPTER 13


                                             NOTICE OF HEARING AND DEADLINES

      The Debtor has filed a Motion to Extend Automatic Stay (the "Motion") (Dkt. #7) with the Court in the
above−styled case.

       Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you might wish to consult
one.)

       The Court will hold a hearing on April 18, 2019, at 10:30 AM in the William M. Colmer Federal Building,
Courtroom 2, 701 Main Street, Hattiesburg, Mississippi, to consider and act upon the Motion.

        If you do not want the Court to grant the Motion, or if you want the Court to consider your views on the
Motion, you or your attorney must file a written response explaining your position so that the Court receives it on or
before April 11, 2019 (Response Due Date). Please note that a corporation, partnership, trust, or other business entity,
other than a sole proprietorship, may appear and act in Bankruptcy Court only through a licensed attorney. Attorneys
and Registered Users of the Electronic Case Filing (ECF) system should file any response using ECF. Others should
file any response at U.S. Bankruptcy Court, Dan M. Russell, Jr. U.S. Courthouse, 2012 15th Street, Suite 244,
Gulfport, MS, 39501. If you file a response, you or your attorney are required to attend the hearing. The hearing will
be electronically recorded by the Court.

      If you or your attorney do not take these steps, the Court may decide that you do not oppose the Motion. If no
response is filed, and the debtor has filed a declaration in support of the motion, in accordance with Miss. Bankr. L.R.
4001−1(e)(1)(B) or 4001−1(f)(1)(A), the Court may grant the Motion without conducting a hearing.

          Dated: 3/20/19                                                Danny L. Miller, Clerk of Court
                                                                        U.S. Bankruptcy Court
                                                                        501 East Court Street, Suite 2.300
                                                                        P.O. Box 2448
                                                                        Jackson, MS 39225−2448
                                                                        601−608−4600
Courtroom Deputy
228−563−1797 (use to advise of settlement)
228−563−1841
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Parties Noticed:

ALL CREDITORS AND PARTIES LISTED ON THE COURT'S MAILING MATRIX
